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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

   SOCIAL POSITIONING INPUT
   SYSTEMS, LLC,                              CASE NO. 2:22-CV-00150-JMA-AYS

                       Plaintiff,                 JURY TRIAL DEMANDED
      v.
                                                         PATENT CASE
   FORWARD THINKING SYSTEMS LLC,


                       Defendant.

    FORWARD THINKING SYSTEMS LLC’S OPENING BRIEF IN SUPPORT OF ITS
          MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


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  Dated: February 8, 2022
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  I.      NATURE AND STAGE OF PROCEEDINGS

          On January 11, 2022, Social Positioning LLC (“Social Positioning”) filed this lawsuit

  accusing Defendant Forward Thinking Systems LLC (“FTS”) of infringing U.S. Patent No.

  9,261,365. In particular, Social Positioning accuses FTS’s use of its mobile website with associated

  hardware and software for determining vehicle locating services of infringing the ’365 Patent.

  II.     SUMMARY OF THE ARGUMENT

          The claims of the ’365 Patent are directed to the abstract idea of sharing address

  information. But sharing address information is not a technological improvement, an inventive

  way of applying conventional technology, or even new. See Wireless Media Innovations, LLC v.

  Maher Terminals, LLC, 100 F. Supp. 3d 405 (D.N.J. 2015) (finding similar claims directed to the

  abstract idea of “monitoring locations, movement, and load status of shipping containers within a

  container-receiving yard, and storing, reporting and communicating this information in various

  forms through generic computer functions”) (emphasis added).

          The claims of the ’365 Patent are not directed to an improvement in computer functionality.

  Rather, they are directed to “the use of conventional or generic technology in a nascent but well-

  known environment.” In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir.

  2016) (“[H]ere we need to only look to the specification, which describes the [components] as

  either performing basic computer functions such as sending and receiving data, or performing

  functions ‘known’ in the art.”). No particular non-conventional component or programming is

  either claimed or disclosed. Social Positioning’s patent does no more than describe the basic idea

  of sending and receiving information related to addresses without disclosing any novel application

  of that idea.

          Instead, as the applicant acknowledged, the approach for sharing address information

  described in the ’365 Patent may be implemented using generic and conventional technology such


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  as “communication protocols or systems currently existing . . . for wirelessly transmitting data.”

  The ’365 Patent at 7:3–5. Indeed, the ’365 specification makes clear that it comprises no novel

  components. Id. at 5:67–6:2 (“[s]uch input devices are standard and currently available on many

  electronic devices including portable digital assistants (PDAs) and cellular telephones.”), 6:19–20

  (“any other memory storage that exists currently”), 7:20–21 (“conventional code encryption

  algorithms currently in use”), 8:10–12 (“identity detection devices such as biometric devices are

  common and are currently widely in use”). Therefore, the ’365 Patent is invalid under 35 U.S.C.

  § 101 for failure to claim patent-eligible subject matter.

         Resolving these issues does not require discovery or formal claim construction. To avoid

  waste of judicial and party resources unnecessarily litigating invalid patents, FTS respectfully

  requests that the Court dismiss the Complaint for failure to state a claim. FED. R. CIV. P. 12(b)(6).

  III.   STATEMENT OF FACTS

         A.      The ’365 Patent

         The ’365 Patent, entitled “Device, system and method for remotely entering, storing and

  sharing addresses for a positional information device,” issued on February 16, 2016 from an

  application filed on September 9, 2009. The applicant contends to have identified and solved

  problems associated with GPS devices which store addresses locally. See id. at 1:46–2:25.The

  patent, however, merely implements an abstract idea using conventional components and protocols

  that were known in the prior art.

         Independent claim 1 of the ’365 patent, which is representative, recites:

         1. A method for receiving location information at a positional information device,
         the method comprising:
                 sending a request from a requesting positional information device to a server
                 for at least one address stored in at least one sending positional information
                 device, the request including a first identifier of the requesting positional
                 information device;


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                  receiving at the requesting positional information device, from the server, a
                  retrieved at least one address to the requesting positional information device
                  wherein the server determines a second identifier for identifying the at least
                  one sending positional information device based on the received first
                  identifier and retrieves the requested at least one address stored in the
                  identified at least one sending positional information device.

  Id. at cl. 1.

           Claim 1 of the ’365 Patent is directed to a method of sharing addresses. Methods for sharing

  addresses with GPS devices are generically described in the specification. Id. at 8:23–34 (“system

  and method for remotely entering, storing and sharing location address information will be

  described For example, the specification states that in.”). The embodiments described in the

  specification center on sharing address information. See Id at 9:29–32 (“[i]n one embodiment, the

  customer service center includes a live operator 303 that has access to server 304 for looking up

  address information and transmitting the information to the device.”). The specification also

  describes a situation in which “[a] driver of a vehicle needs assistance in locating a point of interest

  such as a museum in a designated city.” Id at 12:27–28. The applicant did not provide any technical

  details on how information is shared beyond what was known in the prior art.

           In Claim 1, the positional information device “send[s] a request . . . for at least one address”

  to a server. The request includes “a first identifier” for identifying the requesting positional

  information device. The server obtains the requested address from a “sending positional

  information device.” The sending positional information device is identified by a “second

  identifier.” The positional information devices are understood to be GPS devices. See generally,

  the ’365 Patent. In other words, Claim 1 recites a generic technique to establish a communications

  link between one or more devices and transfer information. No technical details are disclosed,

  much less claimed, as to how these processes are accomplished. Claim 1 simply recites generic

  and well known hardware components.


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  IV.    ARGUMENT

         A.      Legal Standard

                 1.      This Case Should Be Disposed of at the Pleading Stage Through Rule
                         12(b)(6)

         Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

  upon which relief can be granted. Rule 12(b)(6) requires a complaint to “contain sufficient factual

  matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” iSentium, LLC v.

  Bloomberg Fin. L.P., 343 F. Supp. 3d 379, 382 (S.D.N.Y. 2018). In deciding a Rule 12(b)(6)

  motion, courts consider documents attached to or incorporated into the complaint as well as facts

  alleged in the complaint. Id. (citing Ashcraft v. Iqbal, 446 U.S. 662, 679 (2009)). Although factual

  allegations are taken as true, legal conclusions are given no deference—those matters are left for

  the court to decide. See Ashcroft, 556 U.S. 678 (2009) (noting tenet that allegations are taken as

  true on a motion to dismiss “is inapplicable to legal conclusions”). “[W]hen the allegations in a

  complaint, however true, could not raise a claim of entitlement to relief [as a matter of law], this

  basic deficiency should . . . be exposed at the point of minimum expenditure of time and money

  by the parties and the court.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007) (internal

  citations and quotations omitted).

         Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

  593, 602 (2010); see also iStentium, 343 F. Supp. 3d 383–84. Accordingly, the § 101 inquiry is

  properly raised at the pleadings stage if it is apparent from the face of the patent that the asserted

  claims are not directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d

  709, 718-19 (Fed. Cir. 2014) (Mayer, J., concurring). In those situations, claim construction is not

  required to conduct a § 101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266,




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  1273 (Fed. Cir. 2012) (“[W]e perceive no flaw in the notion that claim construction is not an

  inviolable prerequisite to a validity determination under § 101.”).

                 2.      The Law of 35 U.S.C. § 101

         Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

  new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

  the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

  abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract

  ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

  use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract intellectual concepts are

  not patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting

  Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

         Determining whether a patent claim is impermissibly directed to an abstract idea involves

  two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

  concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

  claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

  an element or combination of elements that is sufficient to ensure that the patent in practice

  amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

  quotations and citations omitted).

         Transformation into a patent-eligible application requires “more than simply stating the

  abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

  v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

  the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

  v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

  limited if it includes only token or insignificant pre- or post-solution activity—such as identifying


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  a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

  at 1297-98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191-92 & n.14

  (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

  steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

  ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

  also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

  broad and general limitation does not impose meaningful limits on the claim’s scope.”).

         B.      The ’365 Patent is Invalid Under 35 U.S.C. § 101.

         Social Positioning’s Complaint should be dismissed. The claims of the ’365 Patent are

  invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the claims is

  directed to the abstract idea of sharing address information. Abstract ideas are not eligible for

  patenting. None of the claims contains an “inventive concept sufficient to ensure that the patent in

  practice amounts to significantly more than a patent upon the ineligible concept itself.” See Alice,

  134 S. Ct. at 2355 (emphasis added). Because Social Positioning has failed to state a claim upon

  which relief may be granted, FTS respectfully requests that the Court grant its motion and dismiss

  this case with prejudice. FED. R. CIV. P. 12(b)(6).

                 1.      Alice Step 1: The claims are directed to an abstract idea.

         In determining patent eligibility under § 101, the Court must first determine whether the

  claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

  claims of the ’365 Patent are directed to an unpatentable, abstract idea because they claim nothing

  more than the “longstanding,” “routine,” and “conventional” concept of sharing address

  information. See Alice, 134 S. Ct. at 2356; Bilski, 561 U.S. at 611.

                         (a)     The ’365 Patent is directed to the abstract idea of sharing
                                 address information.



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           Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address information.1

  Stripped of its conventional terminology (i.e., “the request including a first identifier of the

  requesting positional information device” and “wherein the server determines a second identifier

  for identifying the at least one sending positional information device based on the received first

  identifier), Claim 1 boils down to this mere unpatentable idea. In other words, with the generic

  terminology removed, the claim conceivably could cover any generic process of sharing address

  information. This is especially true given the purely functional nature of the claim language. For

  example, Claim 1 could cover the following scenario: (1) using a connection to request an address

  (e.g., calling a friend to ask for another friends address); and then (2) receiving address information

  (e.g., the friend providing the other friends address). Such a broad concept is not patent eligible

  because it “recite[s] an abstraction—an idea, having no particular concrete or tangible form.”

  Ultramercial, 772 F.3d at 715.

           Furthermore, the applicant instructed that his purported invention was not limited to any

  particular implementation. ’365 Patent at 4:16-20 (“it is to be understood the principles of the

  present disclosure may be applied to any type of navigation or positional information device

  including but not limited to a vehicle-mounted device, a GPS receiver coupled to a desktop

  computer or laptop, etc.”); 9:25-29 (“Once connected to the customer service center, the user can

  communicate with the customer service center with Voice communications or with a vehicle user

  interface (VUI) including but not limited to keyboard, Voice recognition, or mouse or pointer”)

  (emphasis added)). The specification, coupled with the broad functional language in Claim 1,


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   Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g., Phoenix Licensing, L.L.C. v. Consumer
  Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974
  claims after analyzing only a few “representative claims” where the other claims were “substantially similar” and
  “linked to the same abstract idea.”).Where claims are “substantially similar and linked to the same abstract idea,”
  courts may look to representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells Fargo
  Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).



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  confirm that Social Positioning’s claims do not describe how to implement the allegedly claimed

  system, much less how to do so in any non-conventional manner. See Internet Patents Corp. v.

  Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to

  patent-eligible subject matter where “[t]he mechanism for maintaining the state is not described,

  although this is stated to be the essential innovation”).

         Additionally, the applicant’s own characterizations demonstrate that the claimed

  components do not “improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for

  example by disclosing an “improved, particularized method of digital data compression,” DDR

  Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way

  a computer stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

  1339 (Fed. Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from

  others that “simply add[ed] conventional computer components to well-known business

  practices,” holding instead that “they [we]re drawn to a specific improvement to the way

  computers operate.” Id. at 1336. In particular, the unconventional structure of the database resulted

  in “increased flexibility, faster search times, and smaller memory requirements.” Id. at 1337.

  Unlike Enfish, nothing in the claims of the ’365 Patent shows any unconventional methodology

  that would amount to a “specific improvement in the way computers operate.” Therefore, the focus

  of the ’365 Patents is not “on [a] specific asserted improvement in computer capabilities” but

  instead “on a process that qualifies as an ‘abstract idea’ for which computers are invoked merely

  as a tool.” Id. at 1336. The “focus” of Claim 1, instead, is sharing address information:

                           Claim Language                                      Claimed Idea
  1. A method for receiving location information at a positional
    information device, the method comprising:
  sending a request from a requesting positional information
                                                                          Requesting information
    device to a server for at least one address stored in at least



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     one sending positional information device, the request
     including a first identifier of the requesting positional
     information device;
   receiving at the requesting positional information device, from
     the server, a retrieved at least one address to the requesting
     positional information device wherein the server determines
     a second identifier for identifying the at least one sending
                                                                         Receiving information
     positional information device based on the received first
     identifier and retrieves the requested at least one address
     stored in the identified at least one sending positional
     information device.


          By only claiming the desired result—sharing address information—without describing any

  specific roadmap for doing so, Claim 1 of the ’365 Patent falls short of claiming eligible subject

  matter under § 101. See Internet Patents, 790 F.3d at 1348; see also Affinity Labs of Tex., LLC v.

  DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016) (holding that claims were directed to an

  abstract idea where they claimed “the function of wirelessly communicating regional broadcast

  content to an out-of-region recipient, not a particular way of performing that function”). And

  because the claimed system can be implemented “using any means such as wireless

  communication, infrared light or a BlueTooth radio link” and “may make use of any telephone

  technology,” the ’365 Patent risks preempting all automated methods or systems for sharing

  address information. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d

  829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims [were] largely

  functional in nature, they [did] not provide any significant description of the particular means by

  which the various recited functions are performed,” and “[a]ll that [was] disclosed [was] the

  ultimate objective”).

          The additional claim limitations recite a series of hardware sensors (e.g., a “pressure

  sensor”) and modules (e.g., a “Global Positioning Systems module”). These limitations do nothing

  more than recite generic and well known hardware to implement the abstract idea.


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                         (b)     Courts have found similar claims to be directed to patent-
                                 ineligible subject matter.

         Courts have found similar patent claims to be directed to abstract ideas. Courts have found

  the following claims directed to various acts of information or data acquisition and transfer

  (including, among others, acquiring, analyzing, sending, receiving, and publishing data) to be

  abstract ideas under the Alice test:

             •   Systems and methods for performing real-time monitoring of an electric power

                 grid by collecting data from multiple data sources, analyzing the data, and

                 displaying the results, Electric Power Group, 830 F.3d at 1351 (emphasis added);

             •   Claims for collecting data, recognizing certain data within the collected set, and

                 storing that data, Content Extraction and Transmission LLC v. Wells Fargo Bank,

                 National Ass’n, 776 F.3d 1343, 1347 (Fed. Cir. 2014) (emphasis added);

             •   Claims directed to transmitting information about a mail object over a network

                 using a personalized marking, Secured Mail Solutions LLC v. Universal Wilde, Inc.,

                 873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis added);

             •   A device used for recording a digital image, storing the digital image, and

                 transferring the digital image to a server for further processing, In re TLI

                 Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added);

             •   A method claiming the functional results of converting, routing, controlling,

                 monitoring, and accumulating records, Two-Way Media Ltd. v. Comcast Cable

                 Comm’cns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017) emphasis added;

             •   Claims directed to collecting and analyzing information to detect misuse, and

                 notifying a user when misuse is detected, FairWarning IP, LLC v. Iatric Sys., Inc.,

                 839 F.3d 1089, 1093–95 (Fed. Cir. 2016) (emphasis added); and


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             •   A device used for recording a digital image, storing the digital image, and

                 transferring the digital image to a server for further processing, In re TLI

                 Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).

         Additionally, a number of cases dealing with patents directed to freight monitoring were

  found directed to the abstract idea of monitoring and communicating information. In Wireless

  Media Innovations, for example, the court invalidated two patents for a system and method of

  “monitoring locations, movement, and load status of shipping containers within a container-

  receiving yard, and storing, reporting and communicating this information in various forms

  through generic computer functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract

  idea, according to the court, because these general monitoring and recording functions “could be

  carried out by human memory, by hand, or by conventional equipment and general purpose

  computer and printer resources.” Id. at 415. See, also, Joao Control & Monitoring Sys., LLC v.

  Telular Corp., 173 F. Supp. 3d 717, 726, 2017 WL 1151052 (N.D. Ill. 2016) (claims found to be

  “directed to the abstract idea of monitoring and controlling property and communicating this

  information through generic computer functions”); MacroPoint, LLC v. FourKites, Inc., No. 15–

  cv–1002, 2015 WL 6870118, at *3 (N.D. Ohio Nov. 6, 2015) (“directed to the abstract idea of

  tracking freight”).

         The idea underlying Claim 1 of the ’365 Patent is just as abstract as that of the Two-Way

  Media and Wireless Media Innovations claims. Claim 1 does not include any specific limitations

  or steps regarding a “specific structure” of computer components used to carry out the abstract

  idea of sharing address information. Rather, Claim 1 uses results-based functional language like

  “establish” a communications link, “configure[]” the link to send/receive data, “process[]” the data

  to be “displayed” or “forwarded.” Claim 1 is abstract because it does “not sufficiently describe




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  how to achieve these results in a non-abstract way.” Two-Way Media, 874 F.3d at 1337 (holding

  limitations requiring “sending” and “directing” of information “d[id] not sufficiently describe how

  to achieve these results in a non-abstract way”). Claim 1 cannot be meaningfully distinguished

  from the claims in either Two-Way Media or Wireless Media Innovations.

                 2.      Alice Step 2: The claims do not contain an inventive concept amounting
                         to significantly more than the abstract idea.

         Because Claim 1 is directed to an abstract idea, the Court must next determine whether it

  contains an “inventive concept sufficient to transform the claimed abstract idea into a patent

  eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To pass this test,

  Claim 1 “must include additional features” that “must be more than well-understood, routine,

  conventional activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1 is broadly

  generic and does not contain meaningful limitations that would restrict it to a non-routine, specific

  application of the abstract idea.

         Although the stated goal of the ’365 Patent is to provide “improved means of

  communications” via a “programmable communicator,” ’365 Patent at 1:46; 4:19-21, not a single

  technical improvement is disclosed, much less claimed. Instead, Claim 1 is described only at a

  high level, consisting of generic functional language like “establish” a connection, “configure” a

  monitoring device to send/receive data “periodically,” and “forward” or “display” the monitored

  information. And, according to the specification, any “telecommunication standard” may be used

  to send and receive information. Id. at 2:2; 12:24-26.

         While the specification purports to describe the structure of an embedded system capable

  of sharing address information, nothing in either Claim 1 or the specification discloses how the

  remote “data monitoring devices” must be configured in any manner, much less an inventive one.

  Instead, the claim uses results-based functional language like “establish” and “configure,” and then



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  requires “periodically” “forward[ing]” or “display[ing]” the data received. Additionally, the claim

  limitations simply list generic hardware and types of data without any improvement in technology.

  See In re TLI, 87 F. Supp. 3d 773, 794 (holding that a “telephone unit limitation is another example

  of generic hardware which does not save Claim 17 because it is not inventive”) (emphasis

  added). And the specification fares no better, explicitly stating that the devices are a “combination

  of existing technologies and features” using “straightforward procedure[s] to communicate with

  the programmable communicator.” ’365 Patent at 9:29-30; 9:58-59. Further details are neither

  claimed nor disclosed.

         There is simply nothing “inventive” about using a known process (e.g., a

  telecommunications standard or Bluetooth) to monitor data. See id. at 9:38-46 (the invention is

  “described in the context of the GSM mobile telecommunications standard” but may “relate[] to

  all telephone standards including, and not limited to CDMA and US-TDMA”). Moreover, the

  abstract functional descriptions in Claim 1 are devoid of any technical explanation as to how to

  implement the purported invention in an inventive way. See In re TLI, 823 F.3d at 615 (claims

  failed Alice’s step 2 where specification limited its discussion of “additional functionality” of

  conventional components “to abstract functional descriptions devoid of technical explanation as

  to how to implement the invention”). Nothing in Claim 1 requires any inventive algorithm or data

  structure, much less an improved computer component. See Wireless Media Innovations, 100 F.

  Supp. 3d 405, 416-417 (“[A]dding a computer to otherwise conventional steps does not make an

  invention patent-eligible. Any transformation from the use of computers or the transfer of content

  between computers is merely what computers do and does not change the analysis.”).

         Courts have repeatedly held that the presence of generic hardware and processing like the

  kind recited in Claim 1 of the ’365 Patent does not make an otherwise abstract idea patent-eligible.




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  See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer

  receives and sends the information over a network—with no further specification—is not even

  arguably inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when

  “[n]othing in the claims . . . requires anything other than conventional computer and network

  components operating according to their ordinary functions”); Wireless Media Innovations, 100 F.

  Supp. 3d 405, 416 (finding that the asserted claims “are not tied to any particular novel machine

  or apparatus, only a general purpose computer, general communication devices, and general

  vehicles,” and the “specific system elements . . . merely require generic computer functions that

  are not inventive.”); see also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract idea does not

  become nonabstract by limiting the invention to a particular field of use or technological

  environment, such as [communications over an RF band].” Intellectual Ventures I LL v. Capital

  One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

         This case is thus unlike Berkheimer, where the Federal Circuit noted that the specification

  explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly

  unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018). The

  Federal Circuit then examined whether the improvements described in the specification were

  included in the claims. For those claims where the inventive feature in the specification was

  “captured in the claims,” the Federal Circuit found a “factual dispute regarding whether the

  invention describe[d] well-understood, routine, and conventional activities.” Id. But where the

  claims did not recite the purportedly inventive features described in the specification, the Federal

  Circuit concluded that they were directed to patent ineligible subject matter under § 101. Id. Here,

  in contrast, there is no need for fact discovery at all because neither the claims nor the specification

  describes any unconventional components or the use of generic components in some




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  unconventional manner. The claims therefore fail Alice’s second step because they contain no

  inventive features, and no amount of fact discovery can change that.

         The recited limitations—whether considered individually or as an ordered combination—

  are insufficient to add “significantly more” to the abstract idea. Because it is altogether devoid of

  any “inventive concept,” Claim 1 of the ’365 Patent is thus patent-ineligible under § 101. See Alice,

  134 S. Ct. at 2359-60.

                 3.        The remaining claims are dependent on Claim 1 and are also abstract

         The remaining claims of the ’365 Patent relate to the same abstract concept of sending and

  receiving information. The only differences are immaterial in the context of a § 101 analysis. The

  dependent claims relate to (i) the order of processing (dependent claim 3), (ii) additional generic

  hardware (dependent claims 5, 6, 9, 10, 18, 24, 25), (iii) alternative communication standards

  (dependent claims 2, 12, 14, 16, 20, 22, 23, 28, 30), or (iv) additional sent or received data

  (dependent claims 4, 7, 8, 11, 13, 15, 17, 19, 21, 26, 27, 29).

         But claiming alternative communication standards (like Bluetooth) and varying the types

  of data sent and received is not inventive. And specifying the order of processing is a token or

  insignificant pre-solution activity insufficient to transform the abstract idea into patent-eligible

  subject matter. See Mayo, 132 S. Ct. at 1297-98, 1300-01. So too is the claims’ identification of

  additional generic components—particularly because there is no disclosure of how any of the

  generic components (e.g., wearing sensors on the body) must be configured in any “inventive”

  manner to accomplish the desired results. See Internet Patents, 790 F.3d at 1348.

         None of these additional features amounts to an inventive feature or renders the claims any

  less abstract. Regardless of their form, therefore, all of the claims of the ’365 Patent fail both




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  prongs of Alice because they are directed to an abstract idea and recite no inventive concept. Alice,

  134 S. Ct. at 2355, 2357.

  V.     CONCLUSION

         For the foregoing reasons, FTS respectfully requests that the Court dismiss Social

  Positioning’s Complaint for failure to state a claim upon which relief can be granted. Because

  leave to amend would be futile, FTS requests dismissal with prejudice.

  Dated: February 8, 2022                           Respectfully submitted,

                                                    FISH & RICHARDSON P.C.



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                                       CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on February 8, 2022, a true and correct copy of the

  foregoing document was filed with the Clerk of the Court using the Court’s CM/ECF system,

  which will send notification of such filing to all counsel of record.

                                                                /s/ Neil J. McNabnay
                                                                 Neil J. McNabnay




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